                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 IN RE US FERTILITY, LLC
                                                    Master File No. 8:21-cv-299
 DATA SECURITY LITIGATION

 This Document Relates To:
 All Actions/


 PLAINTIFFS RAYNARD STUCKEY AND SAMANTHA STUCKEY’S APPLICATION
                FOR APPOINTMENT OF CLASS COUNSEL

        Plaintiffs, Raynard and Samantha Stuckey (“Plaintiffs”) filed their putative class action

on February 25, 2021: Case No. PWG-21-496. On March 23, the Court issued an Order

consolidating their case with seven others. Pursuant to the Court’s Order, Plaintiffs timely

submit their application for appointment of interim class counsel and liaison counsel.

   I.      Plaintiffs’ Undersigned Counsel Should Be Appointed Lead Class Counsel

        Plaintiffs propose leadership by Eric M. Poulin and Roy T. Willey, IV of Anastopoulo Law

Firm and liaison counsel of Curtis A. Boykin and Frederick A. Douglas of Douglas & Boykin

PLLC ( “ Counsel”). In the alternative, Mr. Poulin and Mr. Willey are willing to serve on a steering

committee, should the Court appoint one. Counsel are well-suited to serve due to their extensive

work investigating the claims, experience advocating on behalf of class members in complex

matters, and ability to commit ample resources to advocating for and counseling prospective class

members. In other words, Counsel easily satisfy the Rule 23(g) factors. Moreover, as outlined

herein, Counsel are best able to represent the interests of the class as outlined in Rule 23(g)(2) due

to their demographics and familiarity with the issues faced by class members.

           A. Counsel’s Identification and Investigation of the Claims

        Counsel have: (i) thoroughly investigated the facts of the complaint; (ii) investigated the

appropriate remedies for Plaintiffs and other members of the Class, as well as investigated the
adequacy of the named Plaintiffs; (iii) drafted and filed their Complaint; (iv) participated in several

conferences with Plaintiffs other Plaintiffs counsel; and (v) participated in the drafting of the Joint

Response to February 24, 2021 Order Regarding Case Management in this consolidated action.

           B. Counsel’s Experience, Knowledge, and Capability

       As set forth in greater detail below, and in the attached resume, Counsel have substantial

experience handling mass actions, class actions, as well as other complex litigation.

               1.      Anastopoulo Law Firm

       The Firm’s founding member, Akim Anastopoulo, has been representing Plaintiffs for the

majority of his over 30 years of practice, and has extensive experience in mass and class actions.

       The Anastopoulo Law Firm’s Resume which includes a complete and full summary of

Class and Mass Action Experience is attached hereto as Exhibit 1.

               2.      Eric M. Poulin

       Eric Poulin’s practice is focused on complex class actions, complex mass actions, complex

personal injury matters, including catastrophic injury and death cases; products liability litigation;

medical malpractice and nursing home abuse litigation; and insurance bad faith litigation.

       Licensed in California, Georgia, North Carolina, and South Carolina, together with many

Federal District Courts, Mr. Poulin has litigated hundreds or thousands of cases through settlement

or verdict and has recovered approximately $100,000,000.00 for his clients over the course of his

career. Mr. Poulin has also handled appellate cases in the South Carolina Court of Appeals, the

South Carolina Supreme Court, and the 4th Circuit Court of Appeals.

       Mr. Poulin is a member of the South Carolina and American Associations for Justice. Mr.

Poulin is a Super Lawyer's Rising Star, a National Trial Lawyers' Top 40 under 40 recipient, and

two-time National Academy of Professional Injury Attorneys' top 10 under 40 recipient.
               3.      Roy T. Willey, IV

       Roy T. Willey IV, born in Maryland, is nationally recognized as a leader in the fields of

complex, contract based and high stakes litigation. He has also been named class counsel and

negotiated multi-faceted and multi-track complex litigation on behalf of consumers.

       Mr. Willey regularly tries cases for, and with, other attorneys having helped them achieve

significant jury verdicts in some of the most conservative venues in the country. These verdicts

have been named among the largest in the nation and state where obtained.

       Mr. Willey is a frequent lecturer and lawyer educator in the areas of complex litigation,

civil procedure, e-discovery and ethics. His presentations have ranged from Certification issues

in Collective and Class Actions (presented at the state trial lawyers conference that included sitting

members of the judiciary), to top trial strategies, and top ethics challenges involving duties to

prospective clients as a nationally available CLE. For all of this, Mr. Willey has been named

among America’s Top 100 High Stakes Litigators, a Super Lawyers Rising Star, multi-year

National Top 10 Under 40, National Trial Lawyers' Top 40 under 40 recipient, and has been

repeatedly recognized for both his community and professional involvement.

       Mr. Poulin and Mr. Willey are well-versed with the Federal Rules of Civil Procedure, the

Federal Rules of Evidence and local rules of this Court. They have studied the local rules of this

Court. Mr. Poulin and Mr. Willey are well-positioned to serve as interim lead counsel, and, if

appointed, will work diligently in representing the best interests of the Class.

               4.      Douglas & Boykin PLLC

       Douglas & Boykin PLLC specializes in dispute resolution through litigation, negotiation,

and ADR in Maryland and the District of Columbia. It represents individuals, corporations, and

local agencies in a wide array of complex matters in local trial and appellate courts as well as
district courts and federal appellate courts. The Firm has represented local governmental agencies

including the District of Columbia Housing Authority and the District of Columbia Water & Sewer

Authority on matters involving settlement negotiations, regulatory compliance, federal laws such

as the Americans with Disabilities Act, the Rehabilitation Act, the Fair Housing Act, the D.C.

Public Works Act, and constitutional claims arising under 42 U.S.C. § 1983.

               5.      Frederick A. Douglas

       Frederick A. Douglas has spent forty-sevens years of practicing in trial and appellate

litigation. During this time, Mr. Douglas has served as a federal prosecutor, counsel to the staffs

of the D.C. Department of Insurance, Securities & Banking, the D.C. Public Service Commission,

and the D.C. Convention Center Authority. Mr. Douglas also served as Special Counsel to the

District of Columbia government during the Securities and Exchange Commission’s investigation

of the adequacy of the District’s disclosure disclosures in municipal bond offerings.

       Mr. Douglas has been lead trial counsel in more than 250 jury and non-jury trials in federal

and state courts. He has argued in excess of forty appeals before federal and state appellate courts

on both criminal and civil matters. Mr. Douglas has led successful defenses and prosecutions of

civil actions involving: (i) federal constitutional claims; (ii) discrimination allegations (individual

and class claims); (iii) federal housing statutes and regulations; (iv) securities rules, regulations

and statues and enforcement investigation and actions; (v) government contracts; and (vi)

negligence claims involving property damage and/or loss of life. Mr. Douglas is also involved in

training and teaching new generations of legal professionals in the local and national spheres.

               6.      Curtis A. Boykin

       Curtis A. Boykin is a trial lawyer licensed to practice law in the District of Columbia and

the State of Maryland. Mr. Boykin has over twenty-seven years of practice experience in trial and
appellate litigation on behalf of governmental entities, corporations, and individuals before federal

and state courts as well as administrative tribunals.

              C. The Firms Will Commit the Resources Necessary to Represent the Class
          The Firms have already expended significant resources in investigating and preparing the

claims asserted in the litigation and will continue to do so. The Firms are well equipped to expend

the professional time and financial resources necessary to aggressively and effectively prosecute

this litigation on behalf of the Plaintiffs and the putative Class. The Firms have successfully

prosecuted similar highly complex cases against some of the largest corporations in the world

defended by some of the most capable defense counsel in the country. As such, the Firms have a

well-established track record of committing ample resources to class action litigation.

              D. Counsel are Best Able to Serve the Interests of the Class

          This is a case that primarily affects those 44 years of age and under, as that is the target

range for fertility treatment. 1 Mr. Poulin and Mr. Willey are both under 40 years of age, making

them well acquainted with individuals who have sought fertility treatment, including from

Defendant, and within the age range of potential class members. As a result, Counsel is well

acquainted with the underlying issues of both the litigation and the personal nature with which

potential class members regarding the personal information linked to their use of fertility services.

Therefore, pursuant to Rule 23(g)(2) counsel are best able to serve the interests of the class.

                                              CONCLUSION

          Based on the foregoing, Plaintiffs respectfully requests that the Court appoint Counsel

herein as interim class counsel and interim liaison class counsel. Mr. Willey and Mr. Poulin are

also willing to serve on a steering committee, should the Court find appropriate to appoint one.



1
    https://cofertility.com/fertility-statistics-2020/
Dated: March 30, 2021       Respectfully submitted,


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                                   -AND-


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